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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                                    CASE NO.
         RODNEY PHATH,
                                                                      2:24-cv-00681-JP
                        Plaintiff,

               v.

         CENTRAL TRANSPORT
         NORTH AMERICA, INC.,

                        Defendant.


             PLAINTIFF’S BRIEF IN OPPOSITION OF DEFENDANT’S
         MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                    PURSUANT TO FED. R. CIV. P. 12(b)(6)

I.     STATEMENT OF FACTS

       In or about December 2023, Plaintiff Rodney Phath applied to work for Defendant Central

Transport North America, Inc. as a Truck Driver. (Doc. 7, First Amended Complaint at ¶ 7.) Mr.

Phath was well qualified for the position. Id. at ¶ 8. Mr. Phath also has a criminal background;

notably, Plaintiff’s convictions were, at the time, approximately fifteen (15) years old. Id. at ¶ 10.

Mr. Phath’s criminal background does not relate to his suitability for employment with Central

Transport as a Truck Driver. Id. at ¶ 11.

        During the interview and hiring process with Central Transport, Mr. Phath was advised

that the company would order a criminal background report. Id. at ¶ 12. 13. At that time, Mr.

Phath disclosed that he was convicted of armed robbery in 2008, for which he served six years in

confinement and has had a clean record since. Id. at ¶ 13. Following this disclosure, Mr. Phath

was immediately told that he would be denied employment on the basis of his criminal history.
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Id. at ¶ 14. Central Transport did not conduct any individualized assessment of Mr. Phath’s

suitability for employment, and it did not request any additional information to review the job

relatedness of Mr. Phath’s criminal record. Id. at ¶ 15.

II.    LEGAL STANDARD

       “When considering a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a

court must view all allegations stated in the complaint as true and construe all inferences in the

light most favorable to plaintiff.” Rice v. Electrolux Home Prod., Inc., No. 4:15-cv-00371, 2015

U.S. Dist. LEXIS 97902, at *6-7 (M.D. Pa. July 28, 2015) (citing Hishon v. King & Spaulding, 467

U.S. 69, 73 (1984) and Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993)). “At the motion to

dismiss stage, the court considers whether the plaintiff is entitled to offer evidence to support its

allegations.” Id. at *7 (citing Maio v. Aetna, Inc., 221 F.3d 472, 482 (3d Cir. 2000)).

       “A complaint should only be dismissed if, accepting as true all of the allegations in the

amended complaint, the plaintiff has not pled enough facts to state a claim to relief that is plausible

on its face.” Id. (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 561 (2007). “Determining

whether a complaint states a plausible claim for relief will . . . be a context-specific task that

requires the reviewing court to draw on its judicial experience and common sense.” Ashcroft v.

Iqbal, 556 U.S. 662, 679 (2009).

III.   ARGUMENT

       Defendant argues that Mr. Phath’s First Amended Complaint should be dismissed because

Defendant did not learn of Mr. Phath’s felony conviction by way of his Criminal History Report.

However, in a case decided subsequent to those cited by Defendant, the Court closely examined

the Criminal History Records Information Act and held that, “looking at the plain language of all

three sections of § 9125, and reading them together, there is no reasonable basis upon which the




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statute can be construed to only apply to employers who receive information by particular means.

There is nothing in the statute’s plain language that could justify reading such a limitation into it.”

Guzzo v. Allen Distribution, 479 F. Supp. 3d 91, 95 (M.D. Pa. 2020).

        In Guzzo, similar to the case currently before this Court, the defendant argued that it learned

of plaintiff’s conviction through a means other than his background check. Id. at 94. (“Here,

Plaintiff alleges that Defendant violated § 9125 by rejecting him based on a prior, irrelevant

conviction and failing to notify him of this in writing. Defendant argues that § 9125 only applies

if the Defendant learned of prior offenses through a background check and that Defendant learned

of Plaintiff’s past convictions through his job application.”)

        Judge Rambo carefully analyzed the language of § 9125, and determined that,

               In examining § 9125’s plain language, the court concludes that the statute
       applies to applicable employers regardless of how they receive the information at
       issue.

               A grammatically-correct reading of § 9125 (a) breaks it down into three
       segments: (1) “[w]henever an employer is in receipt of information”; (2) “which is
       part of an employment applicant’s criminal history record information file”; (3) “it
       may use that information for the purpose of deciding whether or not to hire the
       applicant, only in accordance with this section.” The first segment designates the
       triggering event—an employer coming into possession of some type of information
       while considering a job applicant. This section’s use of the passive voice
       demonstrates that there is no particular agent who must confer the information upon
       the employer. This leaves the operative question being whether the employer has
       come into possession of the information at issue.

               The second segment is an adjective phrase modifying the type of
       information at issue. Only information that could be found in an applicant’s
       “criminal history record information file” must be considered in the manner
       specified by this statute.

Id. at 94-95.

       After carefully analyzing the language of Section 9125, Judge Rambo discussed the

purpose of CHRIA, finding that, “A thorough review of the secondary sources and Pennsylvania




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case law discussing § 9125 make clear that its underlying purpose is to promote gainful

employment by ex-convicts, decreasing the likelihood of recidivism, while nonetheless permitting

employers to reject ex-convict applicants when there is a rational basis for doing so.” Id. at 97.

Judge Rambo then held that, “With these goals in mind, it is clear that Defendant’s interpretation

would undermine the purpose of § 9125. Under Defendant’s interpretation, employers could

potentially reserve their right to reject all ex-convicts by avoiding performing background checks

and instead compelling applicants to disclose their criminal histories. This would decrease the

number of jobs available to ex-convicts not due to any rational connection between the applicant’s

past conviction and the job, but instead based purely on stigma towards ex-convicts. This would

directly clash with § 9125’s goals.” Id. at 98.

       Plaintiff submits that the Guzzo court’s holding is more consistent with the plain reading

of the statute as well as the legislative intent behind CHRIA than the holdings cited by Defendant,

particularly the holding in Azadpour v. AMCS Grp., Inc., No. 19-1968, 2020 U.S. Dist. LEXIS

18692, (E.D. Pa. Feb. 5, 2020). The Azadpour decision, in order to reach its conclusion, excised

language from the statute, stating, “By its terms, CHRIA applies only to employers who are ‘in

receipt’ of an applicant’s ‘criminal history record information file’.” Id. at *11. The plain language

of the statute itself, however, applies to employers who are “in receipt of information which is part

of an employment applicant’s criminal history record information file.” 18 Pa.C.S. § 9125(a)

(emphasis added). Azadpour’s analysis would, as Judge Rambo predicted, undermine CHRIA

and render its protections bootless: an employer need only require applicants to self-disclose their




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criminal history and that employer could then use the information however it saw fit, without

concern for CHRIA.1.

       Because the holding in Guzzo is more consistent with the plain language and intent of

CHRIA, Plaintiff urges this Court to adopt the holding in Guzzo. In this case, Defendant learned

of Mr. Phath’s criminal history directly from Mr. Phath, but still used that information improperly

to deny him employment. As in Guzzo, the source of Defendant’s knowledge should not be at

issue. Rather, Defendant (1) was in receipt of information (that being Mr. Phath’s criminal

history), (2) which was part of Mr. Phath’s criminal history record information file, and (3) used

that information for the purpose of deciding whether or not to hire Mr. Phath. As confirmed by

the plain language of the statute and the court’s holding in Guzzo, whether Defendant learned of

Mr. Phath’s criminal background through a criminal history report, an application, or verbally from

Mr. Phath, is of no importance. Defendant’s actions were in violation of the plain reading of

CHRIA because Defendant used this information improperly, and therefore, Plaintiff’s First

Amended Complaint should not be dismissed.

IV.    CONCLUSION

       For the reasons discussed herein, the Court should overrule Defendant’s motion, and allow

Plaintiff to proceed with his failure to hire claim.




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        In fact, the decision of Azadpour goes further and opens the door to allow employers to
evade the requirements of CHRIA simply by obtaining an applicant’s criminal history record
information from a source other than a criminal justice agency – like a background check company.
The holding of Azadpour effectively erased the employment protections of CHRIA, 18 Pa.C.S. §
9125, by making them only applicable to employers who acquire an applicant’s complete criminal
history record information file from a law enforcement agency.


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                                          Respectfully submitted,
                                          Weisberg Cummings, P.C.

August 22, 2024                           /s/ Larry A. Weisberg_____________
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                                CERTIFICATE OF SERVICE

       I, Larry A. Weisberg, hereby certify that a true and correct copy of the forgoing Plaintiff’s

Brief has been filed electronically, and is available for viewing and downloading from the

Electronic Case Filing (ECF) System maintained by the United States District Court for the Eastern

District of Pennsylvania, transmission of which constitutes service of the filed document(s).


                                             Weisberg Cummings, P.C.


August 22, 2024                              /s/ Larry A. Weisberg
Date                                         Larry A. Weisberg




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